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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA

                                              CIVIL MINUTES - GENERAL
 Case No.          CV 11-07098-AB (SHx)                                                              Date     March 24, 2015
 Title             Perfect 10 Inc. v. Giganews, Inc., et al.,




 Present: The                      Stephen J. Hillman
 Honorable
                 Sandra Butler
                 Deputy Clerk                                 Court Reporter / Recorder                              Tape No.
                Attorneys Present for Plaintiffs:                                    Attorneys Present for Defendants:
                               N/A                                                                      N/A
 Proceedings:                     (IN CHAMBERS)



      In light of the Order Granting Defendants’ Motion for Attorneys’ Fees and Costs,
the Magistrate Judge DENIES the Discovery Sanctions Motion. The Attorneys’ Fees and
Costs award subsumes what is sought in the Sanctions Motion. The hearing date is
vacated, as is Docket #676.

cc:      District Judge Birotte
         Magistrate Judge Hillman
         Counsel of Record*
         *the term “counsel” as used herein also includes any pro se party.
         See Local Rule 2.9.3.


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                                                                              Initials of Preparer




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